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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

MITSUMI ELECTRIC COMPANY,                      §
LIMITED,                                       §
                                               §
        Plaintiff,                             §
                                               §          No. 6:06-CV-168-LED
v.                                             §
                                               §          PATENT CASE
WISTRON CORPORATION, WISTRON                   §
LLC, AOPEN INC., and AOPEN                     §
AMERICA INC.,                                  §
                                               §
        Defendants.


                                           ORDER


        The Court, having considered Plaintiff Mitsumi Electric Company, Limited's and

Defendants Wistron Corporation, Wistron LLC, Aopen Inc., and Aopen America Inc.'s Joint

Motion To Dismiss with Prejudice, is of the opinion that the motion should be GRANTED.

        Accordingly and in conformance with the Parties settlement of this action by written

agreement, the Parties’ claims and counterclaims are hereby dismissed with prejudice.

SO ORDERED.

        So ORDERED and SIGNED this 27th day of February, 2007.




                             __________________________________
                             LEONARD DAVIS
                             UNITED STATES DISTRICT JUDGE




ORDER                                                                                   Page Solo
